Case 4:05-cr-00008-WHB-JCS   Document 120   Filed 05/02/06   Page 1 of 7
Case 4:05-cr-00008-WHB-JCS   Document 120   Filed 05/02/06   Page 2 of 7
Case 4:05-cr-00008-WHB-JCS   Document 120   Filed 05/02/06   Page 3 of 7
Case 4:05-cr-00008-WHB-JCS   Document 120   Filed 05/02/06   Page 4 of 7
Case 4:05-cr-00008-WHB-JCS   Document 120   Filed 05/02/06   Page 5 of 7
Case 4:05-cr-00008-WHB-JCS   Document 120   Filed 05/02/06   Page 6 of 7
Case 4:05-cr-00008-WHB-JCS   Document 120   Filed 05/02/06   Page 7 of 7
